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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Civil Action No. 18-cv-0558-WYD

CENTER FOR BIOLOGICAL DIVERSITY, a non-profit organization,
THE HUMANE SOCIETY OF THE UNITED STATES, a non-profit
organization, and
WILDEARTH GUARDIANS, a non-profit organization,

       Petitioners.

v.

NOREEN WALSH, in her official capacity as Regional Director of the
Mountain-Prairie Region of the U.S. Fish and Wildlife Service,
RYAN ZINKE, in his official capacity as the Secretary of the U.S. Department
of the Interior,
JIM KURTH, in his official capacity as the Acting-Director of the U.S. Fish and
Wildlife Service,
THE U.S. FISH AND WILDLIFE SERVICE, a federal agency, and
THE U.S. DEPARTMENT OF THE INTERIOR,

       Respondents.


     UNOPPOSED MOTION TO AMEND THE JOINT CASE MANAGEMENT PLAN


       Pursuant to D.C.COLO.LCivR 6.1(b), Respondents, by and through undersigned counsel,

hereby respectfully move for an order amending the operative Joint Case Management Plan

(“JCMP”) [Dkt. 14], as follows:

       1.        On March 15, 2018, the Court ordered the parties to confer and prepare a

proposed JCMP. [Dkt. 6.] In accordance with the Court’s Order, the parties submitted a proposed

JCMP on May 9, 2018, [see Dkt. 13], and the JCMP was entered by the Court on May 10, 2018.

[See Dkt. 14.]
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       2.       The operative JCMP sets Respondents’ deadline to file the Administrative Record

on June 25, 2018. [See id.]

       3.       Good cause exists for a short extension of this deadline, because Respondents

have been diligently working to compile the Administrative Record, but require one additional

week to complete this process.

       4.       Petitioners do not oppose a one-week extension of Respondents’ deadline,

provided that the other deadlines concerning the Administrative Record are similarly extended.

       5.       The deadlines for summary judgment briefing shall remain unchanged.

       6.       Accordingly, the parties have agreed to a one-week extension of the deadlines

associated with the Administrative Record as follows:

                                 Current Deadline                Proposed Deadline

 Deadline for Filing             June 25, 2018                   July 2, 2018
 Administrative Record

 Deadline for Parties to         July 25, 2018                   August 2, 2018
 Confer on Record Disputes

 Deadline for Filing the         August 6, 2018                  August 10, 2018
 Final Administrative
 Record

 Deadline for Filing Motions     August 14, 2018                 August 22, 2018
 to Complete and/or
 Supplement the
 Administrative Record

 Petitioner’s Opening Brief      October 1, 2018 (assuming no no change
 Due                             motions regarding the record
                                 are filed)



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                                  Current Deadline                 Proposed Deadline

 Respondent’s Response            November 23, 2018                no change
 Brief Due

 Petitioner’s Reply Brief Due December 11, 2018                    no change



                                      CERTIFICATIONS

       Pursuant to D.C.COLO.LCivRs 6.1 and 7.1, undersigned counsel certifies that she

conferred with counsel for Petitioners regarding this extension, and Petitioners do not oppose. The

parties have stipulated to one prior extension of time in this case, namely to consolidate the

response deadline for the Respondents, who were served on different dates. [See Dkt. 11.]

Undersigned counsel further certifies that she will serve a copy of this motion on the client

representatives named below.

DATED:         June 21, 2018

                                                       Respectfully submitted,


                                                       ROBERT C. TROYER
                                                       United States Attorney

                                                       s/ Sarah Hunter Weiss
                                                       Sarah Hunter Weiss
                                                       Assistant United States Attorney
                                                       U.S. Attorney’s Office for
                                                       the District of Colorado
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                                                       Counsel for Respondents
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                            CERTIFICATE OF SERVICE (CM/ECF)

        I hereby certify that on June 21, 2018, I electronically filed the foregoing with the
 Clerk of Court using the ECF system, which will send notification of such filing to the
 following email addresses:

       Counsel for Petitioners

       swilcox@wildearthguardians.org
       lfriend@humanesociety.org
       asantarsiere@biologicaldiversity.org

        I also hereby certify that a copy of the foregoing will be sent via email to the following
client representatives:

       larry.mellinger@sol.doi.gov
       david.harrington2@usdoj.gov



                                                                s/ Sarah H. Weiss




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